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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
                                 www.flmb.uscourts.gov

In re:

QUAN DINH TRAN,                                       Chapter 7
                                                      Case No. 8:20-bk-05750-CPM

         Debtor.
                                              /


                           NOTICE OF OPPORTUNITY TO
                        OBJECT AND REQUEST FOR HEARING
If you object to the relief requested in this paper you must file a response with the Clerk of
Court at Sam M. Gibbons United States Courthouse, 801 N. Florida Avenue, Suite 555,
Tampa, Florida 33602 within thirty (30) days from the date of the attached proof of service,
plus an additional three days if this paper was served on any party by U.S. Mail.

If you file and serve a response within the time permitted, the Court will either notify you of a
hearing date or the Court will consider the response and grant or deny the relief requested in
this paper without a hearing. If you do not file a response within the time permitted, the Court
will consider that you do not oppose the relief requested in the paper, and the Court may grant
or deny the relief requested without further notice or hearing.

You should read these papers carefully and discuss them with your attorney if you have
one. If the paper is an objection to your claim in this bankruptcy case, your claim may
be reduced, modified, or eliminated if you do not timely file and serve a response.


                   CHAPTER 7 TRUSTEE’S OBJECTION TO CLAIM 55
                              (ARIE MOSZKOWICZ)

         Nicole M. Cameron, as Chapter 7 Trustee for the above-captioned Debtor (“Trustee”), by

and through her undersigned counsel, hereby files this Objection to Claim 55 (Arie Moskowicz)

(the “Objection”). In support of this Objection, the Trustee states as follows:

         1.     Debtor filed a voluntary petition for relief under Chapter 7 of the Bankruptcy

Code on July 29, 2020 (Doc. 1).
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       2.      On August 31, 2020, the Court issued a Notice of Deadline to File Proof of Claim

(“Notice”) which set December 3, 2020 as the deadline to file a Proof of Claim. The Notice

contained instructions on how and the deadline by which to submit a claim. (Doc. 22).

       3.      On September 3, 2020, the Notice was mailed to all creditors contained in the

master-mailing matrix for this case. (Doc. 24).

       4.      Arie Moskowicz (“Moskowicz”) filed Claim 55 in the amount of $37,889.00 on

December 1, 2020 (the “Claim”).

       5.      According to the Debtor’s records (and the Claim), Moskowicz invested

$30,000.00 in Debtor’s business (which turned out to be a Ponzi scheme). The portion of the

Claim exceeding $30,000.00 (e.g. $7,889 in fictitious profits) should be disallowed or

subordinated so all Ponzi scheme investor claims are treated equally. See In re Taubman, 160

B.R. 964, 980-82 (Bankr. S.D. Ohio 1993) (equitable principles dictated that investors’ claims

against chapter 7 debtor that operated Ponzi scheme be split into two portions, one of which

represented the difference between what each investor actually invested minus total received

back, and the second – which is subordinated – for all promised profit, interest or other damages

in excess of the amounts actually deposited by the creditor with the debtor but unreturned).

       WHEREFORE, the Debtor respectfully requests that the Court enter an Order (a)

sustaining the Objection to the Claim; (b) allowing the Claim in the amount of $30,000.00; and

(c) granting such other and further relief as the Court deems appropriate.
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                                                  Counsel to Nicole M. Cameron, Trustee


                              CERTIFICATE OF SERVICE

        The undersigned certifies that, on this 20th day of February, 2023, a copy of the
foregoing has been furnished by electronic service to all persons receiving notice by CM/ECF
and by First Class U.S. Mail, postage prepaid to the following (and electronic mail where
indicated):

Quan Dinh Tran                               United States Trustee - TPA7/13
1994 Carolina Cir. NE                        Timberlake Annex, Suite 1200
St. Petersburg, FL 33703                     501 E Polk Street
                                             Tampa, FL 33602

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                                                  /s/ Rhys P. Leonard
                                                  Rhys P. Leonard
